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UNITED STATES BANKRUPTCY COURT                                                                                 Page 1 of 1

DISTRICT OF DELAWARE
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      23-10286

      Blank Label Group, Inc.




      Case Type :                       bk
      Case Number :                     23-10286
      Case Title :                      Blank Label Group, Inc.
      Judge :                           John T. Dorsey
      Courtroom :                       5th Floor Courtroom 5, Wilmington, DE
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